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                    IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF DELAWARE

    VOLTERRA SEMICONDUCTOR LLC, )
                                )
            Plaintiff,          )
                                )
      v.                        ) C.A. No. 19-2240-CFC-SRF
                                )
    MONOLITHIC POWER SYSTEMS,   )
    INC.,                       )
                                )
            Defendant.          )


        [PROPOSED] ORDER GRANTING DEFENDANT MONOLITHIC
             POWER SYSTEM, INC.’S MOTION TO EXCLUDE
                  THE TESTIMONY AND OPINIONS OF
        PLAINTIFF’S DAMAGES EXPERT, DEFOREST MCDUFF, PH.D.

         At Wilmington this ____ day of ______________, 2021, having considered

   Defendant Monolithic Power Systems, Inc.’s Motion to Exclude the Testimony and

   Opinions of Plaintiff’s Damages Expert, Deforest McDuff, Ph.D, and all papers and

   argument submitted therewith, IT IS HEREBY ORDERED that the motion is

   GRANTED. Dr. McDuff is PRECLUDED from testifying and opining on damages

   related to the per-unit reasonable royalty approaches.



                                          _________________________________
                                          United States District Judge
